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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                    )
KATHEENA NEVIA SONEEYA, f/k/a                       )
Kenneth Hunt,                                       )
                                                    )
                      Plaintiff,                    )
                                                    )
v.                                                  )       Civil Action No. 07-12325-DPW
                                                    )
THOMAS A. TURCO III, in his official                )
capacity as Commissioner of the                     )
Massachusetts Department of Correction,             )
                                                    )
                      Defendant.                    )
                                                    )

                    JOINT NOTICE OF AGREEMENT REGARDING
                    PLAINTIFF’S RENEWED MOTION TO COMPEL

       The parties hereby give Notice that they have reached an agreement with regard to

Plaintiff’s Renewed Motion to Compel Compliance with the Court’s March 29, 2012 Permanent

Injunction (“2012 PI”) and May 12, 2014 Court Order (“2014 Order”), and Defendant’s

Opposition, which Defendant hereby withdraws. (Dkt. Nos. 286, 299).

       The parties agree that Plaintiff’s Renewed Motion was an attempt to clarify the

procedural posture of the case, as it was unclear from the docket whether there was an operative

Motion to Compel in place, since this Court denied without prejudice Plaintiff’s November 2,

2017 Motion to Compel (Dkt. Nos. 222, 230). The parties agree that the key issue before this

Court is whether Defendant is in violation of the 2012 PI and 2014 Order. Plaintiff is seeking

relief which, she argues, is consistent with the 2012 PI and the 2014 Order, namely, that plaintiff

receive gender confirming surgery, or, in the alternative, that plaintiff be transferred to MCI-

Framingham.




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                                                    Respectfully submitted,

                                                    /s/ Jennifer M. Staples__________
Date: March 27, 2019                                Jennifer M. Staples, BBO #631399
                                                    Samuel Miller, BBO # 687587
                                                    Department of Correction
                                                    Legal Division
                                                    70 Franklin Street, Suite 600
                                                    Boston, MA 02110-1300
                                                    (617) 727-3300 ext. 1144
                                                    Jennifer.Staples@DOC.State.MA.us


                                                    /s/ Anne Hancock
                                                    Anne F. Hancock (BBO# 6918844)
                                                    Sara Bellin (BBO# 698900)
                                                    ROPES & GRAY LLP
                                                    Prudential Tower
                                                    800 Boylston Street
                                                    Boston, Massachusetts 02119-3600
                                                    (617) 951-7000
                                                    annie.hancock@ropesgray.com
                                                    sara.bellin@ropesgray.com

                                                    Attorneys for Plaintiff Katheena Nevia
                                                    Soneeya




                                   CERTIFICATE OF SERVICE
        I hereby certify that I did serve the above document and all attachments upon counsel for
Plaintiff through the Court’s electronic filing system (ECF).

Dated: March 27, 2019                               /s/Jennifer M. Staples
                                                    Jennifer M. Staples, BBO # 631399




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